         Case 4:12-cr-00213-KGB Document 259 Filed 09/17/14 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                 No. 4:12CR00213-08 KGB

NICOLE E. YBARRA                                                                      DEFENDANT

                                              ORDER

       This Order is issued in response to the opinions of the United States Supreme Court in

United States v. Booker, 543 U.S. 220 (2005), Rita v. United States, 551 U.S. 338 (2007),

Kimbrough v. United States, 552 U.S. 85 (2007), and Gall v. United States, 552 U.S. 38 (2007).

       1.      The Probation Office must conduct a presentence investigation and prepare a

presentence report as provided in Fed. R. Crim. P. 32 and 18 U.S.C. § 3552, and the parties must

likewise continue to adhere to the requirements of Fed. R. Crim. P. 32.

       2.      To arrive at a sentence that is sufficient but not greater than necessary to comply with

the purposes set forth in paragraph (2) of 18 U.S.C. § 3553(a), the Court expects to follow the

following process in determining a sentence in this case:

       (a)     The Court expects to conduct three levels of analysis in determining an appropriate

               sentence:

               (i)    The Court will first calculate a guideline sentence, without reference to any

                      departure from the Sentencing Guidelines that may be permitted by the

                      Guidelines themselves (the “Guideline Sentence”);

               (ii)   The Court will next consider whether a sentence should be imposed that

                      departs from the Sentencing Guidelines, based on the criteria set forth in the
         Case 4:12-cr-00213-KGB Document 259 Filed 09/17/14 Page 2 of 3




                       Guidelines at Sections 5K1.1 to 5K3.1 and applicable Guidelines case law

                       permitting such departures (the “Departure Sentence”); and

               (iii)   The Court will next consider whether a sentence should be imposed that is

                       different from either the Guideline Sentence or the Departure Sentence (if

                       any), after considering the factors set forth in 18 U.S.C. § 3553(a) (the “Non-

                       Guideline Sentence”).

       (b)     The Court will not presume that a Guideline Sentence is reasonable. However,

               recognizing that the Commission’s recommendation of a sentencing range will

               reflect a rough approximation of sentences that might achieve 18 U.S.C. § 3553(a)’s

               objectives, the Court will give respectful consideration to the Sentencing Guidelines,

               including the departure provisions of the Guidelines.

       (c)     The Court will state in open court the reasons for the sentence imposed in accordance

               with 18 U.S.C. § 3553(a).

       (d)     Notwithstanding the foregoing, any party may, by appropriate motion or objection,

               seek to persuade the Court that a different analytical framework is appropriate, or

               otherwise raise relevant issues of law.

       3.      So that the Court will have full opportunity to consider a non-Guideline Sentence if

one is requested, and so that the opposing party will have a fair opportunity to respond, the Court

requests that in seeking or opposing a non-Guideline Sentence the parties comply with the

following:

       (a)     Any party seeking to have the Court impose a Non-Guideline Sentence should,

               within 14 days after receiving the initial version of the presentence report, or 14 days


                                                  2
         Case 4:12-cr-00213-KGB Document 259 Filed 09/17/14 Page 3 of 3




               after this Order is entered, whichever is later, submit a Sentencing Memorandum that

               includes the following:

               (i)     the Non-Guideline Sentence the party seeks to have the Court impose;

               (ii)    the reasons the party believes the Non-Guideline Sentence is appropriate,

                       including the reasons the sentence satisfies the factors set forth in 18 U.S.C.

                       § 3553(a); and

               (iii)   any additional facts, not set forth in the presentence report, upon which the

                       party intends to rely.

       (b)     Any documents or other exhibits submitted in support of a Non-Guideline Sentence

               should be filed with the Sentencing Memorandum.

       (c)     A Sentencing Memorandum should address a request for a Departure Sentence, a

               request for a Non-Guideline Sentence, and any other issue relevant to sentencing.

       (d)     Any opposition or objection to any Sentencing Memorandum, exhibit, or other item

               submitted in support of sentencing, must be filed within seven days after service of

               the Sentencing Memorandum or other materials to which objection is made.

       (e)     Copies of all Sentencing Memoranda and other materials submitted under Section 3

               of this Order should be provided to the Probation Office.

       4.      For good cause shown, the Court may modify the above requirements or take such

other steps as justice may require.

       Dated this 17th day of September, 2014.


                                                      KRISTINE G. BAKER
                                                      UNITED STATES DISTRICT JUDGE


                                                 3
